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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                      LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
         Plaintiff,                               )    Criminal No. 6:17-CR-0026-GFVT-HAI-1
                                                  )
 V.                                               )
                                                  )
 BOBBY GREEN,                                     )                      ORDER
                                                  )
         Defendant.                               )
                                                  )

                                       *** *** *** ***

       This matter is before the Court on the Recommendation to Accept Guilty Plea filed by

United States Magistrate Judge Hanly A. Ingram. [R. 144.] The recommendation instructed the

parties to file any specific written objections within three days after being served with the

decision, or else waive the right to further review. Id. The Defendant has not objected and the

time to do so has passed.

       Upon review, the Court is satisfied that Defendant Green knowingly and competently

pled guilty to the charged offense and that an adequate factual basis supports the plea as to each

essential element of the offense charged. Accordingly, the Court hereby ORDERS as follows:

       1.       Judge Ingram’s Recommendation to Accept Guilty Plea [R. 144] is ADOPTED

as and for the Opinion of the Court;

       2.       Defendant Bobby Green is ADJUDGED guilty of Counts One(1), Two (2), Three

(3), Six (6), and Nine (9) of the Superseding Indictment;

       3.       The Defendant’s Jury Trial as to Counts One(1), Two (2), Three (3), Six (6), and

Nine (9) is CANCELLED;
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       4.      The Defendant’s Jury Trial as to Counts Four (4) and Five (5) remains scheduled

for Tuesday, August 7, 2018, at the hour of 10:00 a.m. in London, Kentucky, with counsel to

arrive by 9:30 a.m.; and

       5.      A Sentencing Order shall be entered promptly.

            This the 20th day of July, 2018.




                                               2
